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                                                                         RECEIVED
                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA                       JlIL 23 2009
                                                                         CLERK, U.S. DISTRICT COURT
                                                                         SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,
                                              1:09-cr-00008-RP-CFB
                Plainj:.iff,

   vs.

CANDICE M. HOUSLEY,

                Defendant.


REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                 (PLEA AGREEMENT)

                The United States of America and the defendant, having

both filed a written consent to conduct of the plea proceedings by

a magistrate jUdge, appeared before me pursuant to Fed. R.                      Crim.

P. 11 and LCrR 11. The defendant entered a plea of guilty to Count

1 of an Indictment charging her with conspiracy to distribute 500

grams      or      more    of   a   mixture     and     substance        containing

methamphetamine, in violation of 21 U.S.C.             §§   846 and 841(b) (1) (A).

After advising and questioning the defendant under oath concerning

each of the subjects addressed in Rule 11(b) (1), I determined that

the guilty plea was in its entirety voluntarily,                      knowingly and

intelligently made and did not           result       from   force,    threats,     or

promises     (other than promises in the plea agreement).                 I   further

determined that there is a factual basis for the guilty plea on

each of the essential elements of the offense(s)                  in question.        A

plea agreement was disclosed at the plea proceeding and defendant
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stated he/she understood its terms and agreed to be bound by them.

To    the   extent   the   plea agreement      is of   the    type   specified in

Rule 11(c) (1) (A) or (C) defendant was advised the district judge to

whom the case is assigned may accept the plea agreement, reject it,

or defer a decision whether to accept or reject it until the judge

has      reviewed      the    presentence       report        as     provided   by

Rule 11(c) (3) (A). To the extent the plea agreement is of the type

specified in Rule 11(c) (1) (B)       defendant was advised by the Court

that defendant has no right to withdraw the plea if the Court does

not follow a recommendation or request in question.

              I recommend that the plea of guilty be accepted and that

the    defendant     be    adjudged   guilty    and    have    sentence    imposed

accordingly. A presentence report has been ordered and a sentencing

status conference scheduled.
                                                         /7 "
                                                       Y
                                                        II
                                                       I



                                                                        JUDGE



                                      DATE



                                      NOTICE

           Failure by a party to file written objections to this
Report and Recommendation within ten (10) days from the date of its
service will result in waiver by that party of the right to make
objections    to   the   Report   and  Recommendation.   28   U.S.C.
§ 636(b) (1) (B). The Report and Recommendation was served this date
by delivery of a copy thereof to counsel for the government and
defendant in open court.

                                        2
